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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------------------- X
                                                                        :
PRIMITIVO ROBLES, on behalf of himself and all others :
similarly situated,                                                     :
                                                                        :       24-CV-07508 (JAV) (RWL)
                                    Plaintiff,                          :
                                                                        :        ORDER OF REFERENCE
                  -v-                                                   :         TO A MAGISTRATE
                                                                        :              JUDGE
BUDKOIN LLC,                                                            :
                                                                        :
                                    Defendant.                          :
                                                                        :
----------------------------------------------------------------------- X

JEANNETTE A. VARGAS, United States District Judge:

        This action is referred to the assigned Magistrate Judge for the following purpose(s):

 X      General Pretrial (includes scheduling,       ___           Consent under 28 U.S.C. § 636(c) for all
        discovery, non-dispositive pretrial motions,               purposes (including trial)
        and settlement)
                                                     ___           Consent under 28 U.S.C. § 636(c) for
___     Specific Non-Dispositive Motion/Dispute:                   limited purpose (e.g., dispositive motion,
        _________________________________                          preliminary injunction)
                                                                   Purpose: _______________________
___     If referral is for discovery disputes when
        the District Judge is unavailable, the time ___            Habeas Corpus
        period of the referral: ________________
                                                    ___            Social Security
___     Settlement
                                                    ___            Dispositive Motion (i.e., motion requiring a
___     Inquest After Default/Damages Hearing                      Report and Recommendation).
                                                                   Particular Motion: ________________

SO ORDERED.

Dated: December 23, 2024                                   __________________________________
       New York, New York                                        JEANNETTE A. VARGAS
                                                                 United States District Judge
